 
    

        
		
        

        
        
        
        
        

        
		
        	
		IN THE MATTER OF THE REINSTATEMENT OF SIEGEL



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF SIEGEL

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				IN THE MATTER OF THE REINSTATEMENT OF SIEGEL2020 OK 77Case Number: SCBD-6908Decided: 09/28/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 77, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


&nbsp;


In the Matter of the Reinstatement of Travis Kendall Siegel to Membership in the Oklahoma Bar Association and to the Roll of Attorneys.



ORDER



¶1 The petitioner, Travis Kendall Siegel (Siuegel/attorney) was stricken from the roll of attorneys from the Oklahoma Bar Association on January of, 2018, after he voluntarily resigned because he lived in California. Petitioner is currently licensed to practice law in California. On March 20, 2020 he petitioned this Court for reinstatement as a member of the Oklahoma Bar Association.

¶2 On July 23,2020, a hearing was held before the Trial Panel of the Professional Responsibility Tribunal and the tribunal recommended that the attorney be reinstated. Upon consideration of the matter, we find:

1) The attorney has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch.1, app. 1-A.


2) The attorney has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law in the State of Oklahoma.

3) The attorney has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association.

4) The attorney has established by clear and convincing evidence that he possesses the good moral character which would entitle him to be reinstated to the Oklahoma Bar Association.


IT IS THEREFORE ORDERED that the petition of Travis Kendall Siegel for reinstatement be granted effective immediately. The costs associated with these proceedings, in the amount of $37.95 and his 2020 bar dues shall be paid prior to reinstatement.

DONE BY ORDER OF THE SUPREME COURT THE 28th DAY OF SEPTEMBER, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR






	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
